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From                                                 Cohen Amy          ECN
Sent                                                 Tuesday      May 30 2017 3 54 PM
To                                                   Torres Joaquin           ECN
Subject                                              FW    Site   tour with Dr Ernie        Bates




Fyi




Amy         B   Cohen

Director         Neighborhood            Program Development
Office      of Economic            and Workforce           Development
415   5     54-6649

amyb cohen                  sfgov org




From Cohen Amy                ECN
Sent Tuesday            May 30       2017 353       PM
To Andrea            Baker    andrea andreabakerconsulting com
Cc cfruin            mac com       eabates ashs com

Subject         RE   Site   tour   with Dr Ernie Bates



Thankyou Andrea Nice                  to     meet you Dr Bates and M r Fruin                 I'm    happy to connect   with you about   the   building   Let

me know a good time to                call   you   this   week    or   call   me   415-608-9998



Thanks

amy


Amy         B   Cohen

Director         Neighborhood            Program Development
0   ffice   of   E   conomic       and   W   orkforce      D evelopment
415   5     54-6649

amyb cohen                  sfgov org




From        Andrea Baker mailto andrea andreabakerconsultincl                               com

Sent Tuesday            May 30       2017 11 52       AM
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                          Case 3:18-cv-06830-RS Document 131-25 Filed 04/28/21 Page 2 of 2
To Cohen Amy              ECN
Cc cfruin maccom eabates ashs com

Subject     Site       tour with Dr Ernie Bates



Good Morning Amy
I   did a site    tour of         F   il   I
                                               more H        eritage             C enter       F   H   C   with           D r B   ates   and his business             partner C raig       F   ruin    this


morning       D    r   B ates was also                      interested             in   seeing         1300      F   il   I   more and since we ran             into   D avid   L   awrence       in    the

F   H C lobby      he was able to facilitate                                 a   tour of 1300 with                        M onetta   as      well



I
    promised Craig            F   ruin           that   I    would pen                  this   email       by    way           of introduction       to   you    as    he had   other questions

regarding        the facility                  and the       R    F       P that   I    was unable          to       respond       to    I   have   included      both    D r B     ates   and    M    r   F   ruin


on   this   email       for   ease of follow                          up
Please feel       free to         contact           me       if       I    can   be of further             assistance

A   ndrea




Andrea       Bakerl           Principal




3401 Cesar Chavez                              Suite        A     I
                                                                          San Francisco                 CA 94110
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